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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                   )
    In re:                                                         )   Chapter 11
                                                                   )
    SURGALIGN HOLDINGS, INC., et al.1                              )   Case No. 23-90731 (CML)
                                                                   )
                                                Debtors.           )   (Jointly Administered)
                                                                   )

        NOTICE OF FILING OF SECOND AMENDED PLAN SUPPLEMENT FOR
        THE COMBINED DISCLOSURE STATEMENT AND JOINT CHAPTER 11
       PLAN OF SURGALIGN HOLDINGS, INC. AND ITS AFFILIATED DEBTORS

       PLEASE TAKE NOTICE that on August 29, 2023, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed the Combined Disclosure Statement and
Joint Chapter 11 Plan of Surgalign Holdings, Inc. and Its Affiliated Debtors [Docket No. 391] (as
may be amended, supplemented, or modified from time to time and including all exhibits and
supplements thereto, the “Plan” or “Disclosure Statement” or “Plan and Disclosure
Statement,” as applicable”)2 in the United States Bankruptcy Court for the Southern District of
Texas, Houston Division (the “Bankruptcy Court”).

        PLEASE TAKE FURTHER NOTICE that on August 31, 2023, the Bankruptcy Court
entered an order [Docket No. 406] (the “Disclosure Statement Order”)3 (a) conditionally
approving the Disclosure Statement, (b) establishing the Voting Record Date, the Voting Deadline,
and other related dates in connection with final approval of the Disclosure Statement and
confirmation of the Plan, (c) approving procedures for soliciting, receiving, and tabulating votes
on the Plan and for filing objections to final approval of the Disclosure Statement and confirmation
of the Plan, and (d) approving the form and manner and related ancillary documents.

       PLEASE TAKE FURTHER NOTICE that on September 20, 2023, in accordance with
the Plan and the Disclosure Statement Order, the Debtors filed the Notice of Filing of Plan
Supplement for the Combined Disclosure Statement and Joint Chapter 11 Plan of Surgalign

1
     The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
     number (if any), are: Surgalign Holdings, Inc. (0607); Surgalign Spine Technologies, Inc. (6543); Pioneer
     Surgical Technology NewCo Inc.; Spinal Transition and Professional Services LLC; Andi’s Belmarall, LLC;
     Fourth Dimension Spine, LLC (1107); Holo Surgical Inc. (4079); and HoloSurgical Technology Inc. (0952). The
     location of the debtors’ service address in these chapter 11 cases is: 520 Lake Cook Road, Suite 315, Deerfield,
     Illinois 60015.
2
     On September 1, 2023, the Debtors filed a solicitation version of the Plan and Disclosure Statement. See Docket
     No. 431. On September 26, 2023, the Debtors filed a modified Plan and Disclosure Statement. See Docket No.
     477.
3
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Plan
     and Disclosure Statement or the Disclosure Statement Order, as applicable.
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Holdings, Inc. and Its Affiliated Debtors [Docket No. 461], in support of the Plan.

       PLEASE TAKE FURTHER NOTICE that on September 22, 2023, in accordance with
the Plan and the Disclosure Statement Order, the Debtors filed the Notice of Filing of First
Amended Plan Supplement for the Combined Disclosure Statement and Joint Chapter 11 Plan of
Surgalign Holdings, Inc. and Its Affiliated Debtors [Docket No. 466], in support of the Plan.

       PLEASE TAKE FURTHER NOTICE that, as contemplated by the Plan and the
Disclosure Statement Order, the Debtors hereby file this Notice of Second Amended Plan
Supplement, which includes the following documents, as may be amended, modified, or
supplemented from time to time, which replace and supersede all previously filed versions of such
documents, as applicable:

     Exhibit                                          Description
        A                                Plan Administrator Agreement
       A-1          Redline to the Plan Administrator Agreement Filed on September 22, 2023
        C                                     Wind-Down Budget

        PLEASE TAKE FURTHER NOTICE that the documents, or portions thereof, contained
in the Plan Supplement are not final and remain subject to ongoing review by the Debtors and
interested parties, including as provided for in the Plan. The Debtors reserve the right, subject to
the terms and conditions set forth in the Plan, the Bankruptcy Code, and the Bankruptcy Rules, to
alter, amend, modify, or supplement the Plan Supplement, and any of the documents and
designations contained therein, at any time before the Effective Date of the Plan, or any such other
date as may be provided for by the Plan or by order of the Bankruptcy Court. If any document in
this Plan Supplement is altered, amended, modified, or supplemented in any material respect prior
to the date of the Combined Hearing (defined below), the Debtors will file a redline of such
document with the Bankruptcy Court.

       PLEASE TAKE FURTHER NOTICE that a hearing to consider confirmation of the Plan
and the adequacy of the Disclosure Statement on a final basis, and any objections to the Plan and/or
Disclosure Statement, will be held on September 27, 2023 at 9:00 a.m. (prevailing Central
Time) before the Honorable Christopher M. Lopez, United States Bankruptcy Judge, in
Courtroom 401 of the United States Bankruptcy Court, 515 Rusk Avenue, Houston, Texas 77002
(the “Combined Hearing”).

        PLEASE TAKE FURTHER NOTICE that the Combined Hearing may be adjourned
from time to time without further notice other than an announcement of the adjourned date or dates
in open court or by a notice of adjournment or notice of agenda of matters scheduled for hearing
filed by the Debtors with the Bankruptcy Court and available on the electronic case filing docket.
The adjourned date or dates will be available on the electronic case filing docket and the Debtors’
case website at https://restructuring.ra.kroll.com/surgalign/. Please be further advised that the Plan
may be further modified, if necessary, pursuant to section 1127 of the Bankruptcy Code prior to,
during, or as a result of the Combined Hearing, without further notice to parties in interest.



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        PLEASE TAKE FURTHER NOTICE that if you would like to obtain copies of the
Disclosure Statement Order, the Plan and Disclosure Statement, the Solicitation and Voting
Procedures, the Plan Supplement, or related documents, such materials are available free of charge
by: (a) accessing the Debtors’ restructuring website at https://restructuring.ra.kroll.com/surgalign;
(b) writing to Surgalign Holdings, Inc., c/o Kroll Restructuring Administration LLC, 850 3rd
Avenue, Suite 412, Brooklyn, NY 11232; (c) calling (833) 939-6015 (U.S./Canada toll free) or +1
(646) 440-4843 (International, for calls originating outside of the U.S./Canada); or (d) emailing
surgaligninfo@ra.kroll.com (with “Surgalign Holdings, Inc. Solicitation” in the subject line). You
may also obtain copies of any pleadings filed in the chapter 11 cases for a fee via PACER at
http://www.txs.uscourts.gov.

ARTICLE XII OF THE PLAN CONTAINS RELEASE, EXCULPATION, AND
INJUNCTION PROVISIONS, AND ARTICLE XII.C CONTAINS A THIRD-PARTY
RELEASE. YOU ARE ADVISED TO REVIEW AND CONSIDER THE PLAN
CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE AFFECTED THEREUNDER.

THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE PLAN
OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO OBTAIN
ADDITIONAL INFORMATION, CONTACT THE SOLICITATION AGENT.




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Houston, Texas
September 26, 2023

/s/ Veronica A. Polnick
JACKSON WALKER LLP                           WHITE & CASE LLP
Veronica A. Polnick (TX Bar No. 24079148)    Gregory F. Pesce (admitted pro hac vice)
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                                             New York, New York 10020
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                                             Counsel to the Debtors and
                                             Debtors in Possession
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                            Exhibit A

                   Plan Administrator Agreement
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                          PLAN ADMINISTRATOR AGREEMENT

        This PLAN ADMINISTRATOR AGREEMENT (this “Agreement”), which shall
constitute the “Plan Administrator Agreement” under, as defined in, and for all purposes of the
Plan, unless and until it is replaced by an agreement with a successor “Plan Administrator”
appointed under the Plan pursuant to Section 9 hereof, dated as of September 27, 2023, by and
among (a) Surgalign Spine Technologies, Inc., on behalf of itself and its debtor subsidiaries
(collectively, the “Debtors” or the “Wind-Down Debtors,” as applicable), (b) Steven Balasiano,
who shall constitute (and is deemed designated) the “Plan Administrator” under, as defined in, and
for all purposes of the Plan, unless and until the Plan Administrator ceases to be the “Plan
Administrator” hereunder (the “Plan Administrator”), and (c) the Committee (together with the
Debtors and the Plan Administrator, the “Parties”), sets forth the Plan Administrator’s rights,
powers, and obligations in connection with the Plan pursuant to the Joint Chapter 11 Plan of
Surgalign Holdings, Inc. and Its Affiliated Debtors [Docket No. 431] (as may be amended,
modified, or supplemented from time to time, the “Plan”). Capitalized terms used but not
otherwise defined herein shall have the meanings ascribed to such terms in the Plan.

1.      Appointment. Effective as of the Effective Date, the Plan Administrator will be appointed
to act as the Plan Administrator under the Plan for the purpose of effectuating the Plan, subject to
the terms and conditions set forth in this Agreement, the Plan, and the Confirmation Order, if
applicable (collectively, the “Plan Documents”). As set forth in the Plan Documents, the Plan
Administrator shall succeed to such powers as would have been applicable to the Debtors, the
Debtors’ officers, directors, managers, members, shareholders, and the Debtors’ Estates from and
following the Effective Date. Notwithstanding the foregoing, the sole and limited duties of the
Plan Administrator are the responsibilities set out in Section 2.

2.      Scope of Services.        The Plan Administrator shall provide post-Effective Date
administration, wind down, dissolution, and liquidation services that are necessary, required,
desirable, or advisable to effectuate the Plan Documents and to make certain distributions under
the Plan. Without limiting the provisions of the Plan applicable to the Plan Administrator, the Plan
Administrator will perform the following services for the Wind-Down Debtors’ Estates in its role
as Plan Administrator for all purposes of the Plan (as such services may be further described in the
Plan Documents or additional tasks required to be performed by the Plan Administrator as
described in the Plan Documents):

                (a)   implementing the orderly wind down of the Debtors’ Estates and making
distributions contemplated by the Plan

                (b)   marshalling, marketing for sale, and winding down any of the Debtors’
assets constituting Wind-Down Debtor Assets;

             (c)    overseeing the accounts of the Debtors and the Wind-Down Debtors and the
wind down and dissolution of the Debtors and the Wind-Down Debtors;

               (d)     receiving, maintaining, conserving, supervising, prosecuting, collecting,
settling, managing, investing, protecting, and where appropriate, causing the Wind-Down Debtors
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to abandon the Wind-Down Debtor Assets, including causing the Wind-Down Debtors to invest
any moneys held as Wind-Down Debtor Assets;

               (e)    opening and maintaining bank accounts on behalf of or in the name of the
Debtors or the Wind-Down Debtors, including, in the Plan Administrator’s discretion, separating
bank accounts for each of the Debtors;

              (f)    entering into any agreement or executing any document or instrument
required by or consistent with the Plan, the Confirmation Order, or the Plan Administrator
Agreement, and to perform all obligations thereunder;

             (g)   collecting and liquidating all Wind-Down Debtor Assets, including the sale
of any Wind-Down Debtor Assets;

               (h)    protecting and enforcing the rights to the Wind-Down Debtor Assets
(including any Retained Estate Claims and Causes of Action) vested in the Wind-Down Debtors
and Plan Administrator by the Plan Administrator Agreement by any method deemed appropriate,
including, without limitation, by judicial proceedings or otherwise;

              (i)    investigating any Wind-Down Debtor Assets, and any other potential
Retained Estate Claims and Causes of Action;

               (j)     reviewing, reconciling, compromising, settling, objecting, or prosecuting
Claims or Interests of any kind (other than Professional Fee Claims);

             (k)    seeking the examination of any Person pursuant to Federal Rule of
Bankruptcy Procedure 2004;

               (l)    retaining professionals, disbursing agents, and other agents, independent
contractors, and third parties pursuant to the Plan Administrator Agreement and paying the
reasonable compensation thereof;

               (m)   paying all lawful expenses, debts, charges, taxes, and other liabilities, and
making all other payments relating to the Wind-Down Debtor Assets, solely out of Wind-Down
Debtor Assets;

              (n)     prosecuting and settling the Retained Estate Claims and Causes of Action
and any causes of action not included in the Digital Assets Purchase Agreement or the Hardware
Assets Purchase Agreement or released under the Plan;

                (o)    reviewing,     reconciling,    pursuing,    commencing,    prosecuting,
compromising, settling, dismissing, releasing, waiving, withdrawing, abandoning, resolving, or
electing not to pursue all Retained Estate Claims and Causes of Action;

               (p)    acquiring litigation and other claims related to the Debtors, and prosecuting
such claims;

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              (q)     reviewing and compelling turnover of the Debtors’ or the Wind-Down
Debtors’ property;

              (r)     calculating and making all Distributions to the Holders of Allowed Claims
against each Debtor, as provided for in, or contemplated by, the Plan and the Plan Administrator
Agreement;

              (s)    establishing, administering, adjusting, and maintaining the Wind-Down
Reserve and the Disputed Claims Reserve;

               (t)    withholding from the amount distributable to any Person the maximum
amount needed to pay any tax or other charge that the Plan Administrator has determined, based
upon the advice of his agents or professionals, may be required to be withheld from such
Distribution under the income tax or other laws of the United States or of any state or political
subdivision thereof;

               (u)     in reliance upon the Debtors’ Schedules and the official Claims Register
maintained in the Chapter 11 Cases, and where appropriate, allowing or objecting to Claims, and
supervising and administering the commencement, prosecution, settlement, compromise,
withdrawal, or resolution of all objections to Disputed Claims required to be administered by the
Wind-Down Debtors;

                 (v)     making all tax withholdings, filing tax information returns, filing and
prosecuting tax refunds claims, making tax elections by and on behalf of the Debtors or the Wind-
Down Debtors, and filing tax returns for the Debtors or the Wind-Down Debtors pursuant to and
in accordance with the Plan, and paying taxes, if any, payable for and on behalf of the Debtors or
the Wind-Down Debtors, as applicable; provided, however, that notwithstanding any other
provision of the Plan Administrator Agreement, the Plan Administrator shall not have any
responsibility or personal liability in any capacity whatsoever for the signing or accuracy of
the Debtors’ income tax returns that are due to be filed after the Effective Date or for any tax
liability related thereto;

               (w)      abandoning or donating to a charitable organization qualifying under IRC
section 501(c)(3) any Wind-Down Debtor Assets that the Plan Administrator determines to be too
impractical to distribute or of inconsequential value;

             (x)      seeking a determination of tax liability or refund under section 505 of the
Bankruptcy Code;

               (y)     establishing reserves for taxes, assessments, and other expenses of
administration of the Debtors or the Wind-Down Debtors as may be necessary and appropriate for
the proper operation of matters incident to the Debtors or the Wind-Down Debtors;

               (z)    paying Wind-Down Debtor Expenses;



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             (aa) purchasing and carrying all insurance policies that the Plan Administrator
deems reasonably necessary or advisable and paying all associated insurance premiums and costs;

               (bb) undertaking all administrative functions remaining in the Chapter 11 Cases
to the extent necessary to carry out the Debtors’, the Wind-Down Debtors’, or the Plan
Administrator’s duties under the Plan, including reporting and making required payments of fees
to the U.S. Trustee and overseeing the closing of the Chapter 11 Cases;

               (cc)    retaining, terminating, appointing, hiring, or otherwise employees,
personnel, management, and directors at any of the Debtors to the extent necessary to carry out the
purposes of the Plan Administrator Agreement and the Plan, including, without limitation, to
address any disputes between the Debtors;

              (dd) exercising, implementing, enforcing, and discharging all of the terms,
conditions, powers, duties, and other provisions of the Plan, the Confirmation Order, and the Plan
Administrator Agreement;

               (ee) scheduling a virtual meeting with members of the Committee who existed
immediately prior to the Effective Date (“Final Committee Members”) no later than 45 days after
the Effective Date to provide a general update, and then at least once quarterly thereafter, which
meeting shall be “by invitation” only to such Final Committee Members at a time during normal
business hours (i.e., between 9:00 a.m., prevailing Eastern Time, and 5:00 p.m., prevailing Eastern
Time), during which meeting the Plan Administrator shall provide a general update to the attendees
of such meeting; and

               (ff)    taking all other actions consistent with the provisions of the Plan and the
Plan Administrator Agreement that the Plan Administrator deems reasonably necessary or
desirable to administer the Debtors and the Wind-Down Debtors.

3.      Timing and Fees.

               (a)    The Plan Administrator will commence its responsibilities on the Effective
Date.

               (b)    The Wind-Down Debtors shall pay the Plan Administrator’s compensation
and reimburse the Plan Administrator’s expenses as set forth herein as such amounts come due
without the need for Bankruptcy Court approval.

               (c)    The Plan Administrator’s annual compensation shall be as set forth on
Exhibit A attached hereto until the termination of this Agreement.

               (d)     In addition to the foregoing, the Plan Administrator shall be entitled to
reimbursement of actual, reasonable, out-of-pocket and direct expenses incurred in connection
with the services to be provided under this Agreement and/or the Plan Documents, as applicable.



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                (e)     The Plan Administrator may retain any professionals reasonably necessary
to the Plan Administrator, and any professionals retained by the Plan Administrator pursuant to
the terms of this Agreement shall be paid as set forth in the applicable professional’s engagement
letter, which shall be payable from the Wind-Down Debtor Assets in accordance with the terms of
this Agreement.

4.      Relationship of the Parties. The Parties intend that an independent contractor relationship
shall be created by this Agreement. The Plan Administrator shall not be entitled to receive from
the Debtors or Wind-Down Debtors or their Estates any vacation pay, sick leave, retirement,
pension, or social security benefits, workers’ compensation, disability, unemployment insurance
benefits, or any other employee benefits.

5.       D&O Liability Insurance. The Wind-Down Debtors shall purchase director and officer
liability insurance that will cover the Plan Administrator with respect to carrying out the Plan
Administrator’s duties in an amount and on terms reasonably acceptable to the Plan Administrator.

6.      Confidentiality. The Plan Administrator shall treat confidentially all information not
publicly available that is received by the Plan Administrator in connection with this engagement
or that is developed during this engagement, and the Plan Administrator shall not disclose such
information except as required by a court order or other legal process.

7.      Indemnity. As set forth and limited by Article VIII.B.10 of the Plan, the Wind-Down
Debtors shall indemnify and defend the Plan Administrator and all professionals engaged by the
Plan Administrator from and against any and all claims, liability, loss, costs, damage, or expense
(including reasonable attorneys’ fees) (collectively, “Damages”) asserted against it by reason of
or arising out of or related to this Agreement or performance under this Agreement or any related
transactions that are taken or omitted to be taken as set forth in this Agreement; provided that there
shall be no obligation to indemnify or defend the Plan Administrator or its professionals on account
of Damages that are determined to have arisen primarily from the Plan Administrator’s or such
professional’s gross negligence or willful misconduct.

8.      Exculpation. The Plan Administrator and any professional engaged by the Plan
Administrator shall not be liable for any act or omission in connection with the discharge by the
Plan Administrator or such professional of the powers and duties conferred upon the Plan
Administrator by the Plan, this Agreement, any Final Order, or applicable law, except to the extent
that such liability is due to an act or omission that is determined, in a Final Order, to be due to the
Plan Administrator’s or such professional’s gross negligence or willful misconduct. Nothing
contained in this Section 8 shall preclude or impair any Holder of an Allowed Claim from bringing
an action in the Bankruptcy Court against the Plan Administrator to compel the Plan Administrator
to make the distributions contemplated by the Plan on account of such Allowed Claim.




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9.     Termination; Effect of Termination.

              (a)   This Agreement shall terminate automatically after all of the Chapter 11
Cases have been closed and all payments have been made under the Plan (including the Plan
Administrator’s compensation and reimbursement).

                (b)     The Plan Administrator may resign its duties at any time upon thirty (30)
days’ written notice to the Bankruptcy Court and the Notice Parties provided in Section 15 of this
Agreement, provided that such resignation shall only become effective upon the appointment of a
permanent or interim successor Plan Administrator, who shall be selected by the Plan
Administrator. Upon the appointment of a successor Plan Administrator, such successor shall
become fully vested with all of the rights, powers, duties, and obligations of the predecessor Plan
Administrator pursuant to this Agreement, the Plan, and the Confirmation Order, and all
responsibilities of the predecessor Plan Administrator shall be terminated.

               (c)    This Agreement may be terminated for cause shown pursuant to a Final
Order entered by the Bankruptcy Court after notice and a hearing; provided that in the event that
this Agreement is terminated before its automatic termination as provided in Section 9(a), the
Bankruptcy Court shall appoint a successor Plan Administrator to fill the vacancy left by the
termination of this Agreement.

                (d)   Upon termination of this Agreement or resignation of the Plan
Administrator, the Plan Administrator shall be entitled to all fees and expenses accrued to that date
pursuant to this Agreement, including any travel or related expenses incurred in returning from the
location of the services being provided under this Agreement prior to the termination date or
resignation date.

10.    Privileges with Respect Retained Estate Claims and Causes of Action.

                (a)    All attorney-client privileges, work product protections and other
privileges, immunities or protections from disclosure (the “Privileges”) held by any one or more
of the Debtors (including any pre-petition committee or subcommittee of the board of directors or
equivalent governing body of any of the Debtors and their predecessors), or the Committee, as
applicable (together, the “Privilege Transfer Parties”) related in any way to the Retained Estate
Claims and Causes of Action and the purpose of the Agreement (the “Transferred Privileged
Information”) are hereby transferred and assigned to the Plan Administrator. The Transferred
Privileged Information shall include documents and information of all manner, whether oral,
written, or digital. For the avoidance of doubt, the Privileges shall include any right to preserve
or enforce a privilege that arises from any joint defense, common interest, or similar agreement
involving any of the Privilege Transfer Parties.

               The foregoing transfer and assignment shall vest the Privileges concerning the
Transferred Privileged Information exclusively in the Plan Administrator, consistent with sections
1123(a)(5)(B) and 1123(b)(3)(B) of the Bankruptcy Code, for the sole benefit of the Plan
Administrator and Holders of Claims. The Plan Administrator shall have the exclusive authority


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and sole discretion to maintain the Privileges and keep the Transferred Privileged Information
confidential, or waive any Privileges and/or disclose and/or use in litigation or any proceeding any
or all of the Transferred Privileged Information.

                 (b)     The Privilege Transfer Parties agree to take all necessary actions to
effectuate the transfer of such Privileges, and to provide to the Plan Administrator without the
necessity of a subpoena all Transferred Privileged Information in their respective possession,
custody, or control; provided that the Plan Administrator shall agree that any reasonable and
documented costs and expenses (including attorneys’ fees) for any person or entity that takes
action pursuant to this provision shall be reimbursed from the Wind-Down Debtor Assets. The
Plan Administrator is further expressly authorized to formally or informally request or subpoena
documents, testimony or other information that would constitute Transferred Privileged
Information from any persons, including attorneys, professionals, consultants and experts that may
possess Transferred Privileged Information, and no such person may object to the production to
the Plan Administrator of such Transferred Privileged Information on the basis of a Privilege held
by a Privilege Transfer Party. Until and unless the Plan Administrator makes a determination in
its sole discretion to waive any Privilege, Transferred Privileged Information shall be produced
solely to the Plan Administrator or as required by law. For the avoidance of doubt, this Subsection
is subject in all respects to Section 1.1(a) of this Agreement.

                Pursuant to, inter alia, Federal Rule of Evidence 502(d), no Privileges shall be
waived by the transfer and assignment of the Privileges or the production of any Transferred
Privileged Information to the Plan Administrator or any of its respective employees, professionals
or representatives, or by disclosure of such Transferred Privileged Information between the
Privilege Transfer Parties, on the one hand, and the Plan Administrator, on the other hand, or any
of their respective employees, professionals or representatives.

               (c)     If a Privilege Transfer Party, the Plan Administrator, any of their respective
employees, professionals or representatives or any other person inadvertently produces or
discloses Transferred Privileged Information to any third party, such production shall not be
deemed to destroy any of the Privileges, or be deemed a waiver of any confidentiality protections
afforded to such Transferred Privileged Information. In such circumstances, the disclosing party
shall promptly upon discovery of the production notify the Plan Administrator of the production
and shall demand of all recipients of the inadvertently disclosed Transferred Privileged
Information that they return or confirm the destruction of such materials.

                Notwithstanding anything to the contrary contained in Section 10, for the avoidance
of doubt, no Privilege or Transferred Privileged Information related to any Claims or Causes of
Action that have been released or exculpated under the Plan shall be deemed to have been
transferred or assigned to the Plan Administrator, provided, however, that the foregoing shall not
prevent the transfer of any Privilege or Transferred Privileged Information to the extent that such
Privilege or Transferred Privileged Information also relates to Retained Estate Claims and Causes
of Action.



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11.    Authority to Prosecute and Settle Retained Estate Claims and Causes of Action.

                 (a)    Subject to the provisions of this Agreement, the Plan, and the Confirmation
Order, the Plan Administrator shall prosecute, pursue, compromise, settle, or abandon any and all
Retained Estate Claims and Causes of Action that have not already been resolved as of the
Effective Date. The Plan Administrator shall have the absolute right to pursue, not pursue, release,
abandon, and/or settle any and all Retained Estate Claims and Causes of Action (including any
counterclaims asserted against the Plan Administrator) as it determines in the best interests of the
Holders of an Allowed Claims, and consistent with the purposes of the Agreement, and shall have
no liability for the outcome of its decision.

               To the extent that any action has been taken to prosecute or otherwise resolve any
Retained Estate Claims and Causes of Action prior to the Effective Date by the Debtors, on the
Effective Date, the Plan Administrator shall be substituted for the Debtors in connection therewith
in accordance with Rule 25 of the Federal Rules of Civil Procedure, made applicable to the Plan
Administrator by Bankruptcy Rule 7025, and the caption with respect to such pending litigation
shall be changed to the following, at the option of the Plan Administrator: “[Name of Plan
Administrator], as Representative for the Wind-Down Debtors v. [Defendant]” or “Wind-Down
Debtors v. [Defendant].” Without limiting the foregoing, the Plan Administrator shall take any
and all actions necessary or prudent to intervene as plaintiff, movant or additional party, as
appropriate, with respect to any applicable Claim. For purposes of exercising its powers, the Plan
Administrator shall be deemed to be a representative of the Estates pursuant to section
1123(b)(3)(B) of the Bankruptcy Code.

                (b)      Subject to Section 11(a) hereof, any determinations by the Plan
Administrator, with regard to the amount or timing of settlement or other disposition of any
Retained Estate Claims and Causes of Action settled in accordance with the terms of this
Agreement shall be conclusive and binding on the Holders of an Allowed Claims and all other
parties in interest following the entry of an order of a court of competent jurisdiction (including,
as relevant, a Final Order issued by the Bankruptcy Court) approving such settlement or other
disposition, to the extent any such order is required to be obtained to enforce any such
determinations.

12.     Liquidation of Retained Estate Claims and Causes of Action. The Plan Administrator, in
the exercise of its reasonable business judgment, shall, in an expeditious but orderly manner and
subject to the other provisions of the Plan, the Confirmation Order, and this Agreement liquidate
and convert to Cash the Retained Estate Claims and Causes of Action, make timely distributions
in accordance with the terms of the Plan, the Confirmation Order, and this Agreement, and not
unduly prolong the existence of the Agreement. The Plan Administrator shall exercise reasonable
business judgment and liquidate the Retained Estate Claims and Causes of Action to maximize net
recoveries to the Holders of an Allowed Claims, provided, however, that the Plan Administrator
shall be entitled to take into consideration the risks, timing, and costs of potential actions in making
determinations as to the methodologies to be employed to maximize such recoveries. Such
liquidations may be accomplished through the prosecution, compromise and settlement,
abandonment or dismissal of any or all of the Retained Estate Claims and Causes of Action or

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otherwise or through the sale or other disposition of the Retained Estate Claims and Causes of
Action (in whole or in combination).

13.      Books and Records. The Plan Administrator shall maintain books and records relating to,
among other things, the Retained Estate Claims and Causes of Action (including income realized
therefrom and the proceeds of any litigation) and the payment of, costs and expenses of, and
liabilities for claims against or which, pursuant to the Plan, are the responsibility of the Plan
Administrator in such detail and for such period of time as may be necessary to enable the Plan
Administrator to make full and proper accounting in respect thereof and in accordance with
applicable law. Such books and records shall be maintained as reasonably necessary to facilitate
compliance with the tax reporting requirements of the Wind-Down Debtors. Nothing in this
Agreement requires the Plan Administrator to file any accounting or seek approval of any court
with respect to the administration of the Wind-Down Debtors’ Assets or as a condition for
managing any payment or distribution out of the Retained Estate Claims and Causes of Action,
except as may otherwise be set forth in the Plan or the Confirmation Order.

14.    Effectiveness. This Agreement shall be effective upon the Effective Date.

15.     Notice. All invoices, notices, requests, demands, and other communications permitted or
required to be given or delivered under or by reason of the provisions of this Agreement shall be
in writing and shall be deemed conclusively to have been given: (a) when personally delivered;
(b) when sent by electronic mail (with hard copy to follow) during a Business Day (or on the next
Business Day if sent after the close of normal business hours or on any non-Business Day); (c) one
(1) Business Day after being sent by reputable overnight express courier (charges prepaid); or
(d) three (3) Business Days following mailing by certified or registered mail, postage prepaid and




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return receipt requested. Unless another address is specified in writing, notices, requests, demands,
and communications to the Parties hereto shall be sent to the addresses indicated below:

       To the Wind-Down Debtors: Surgalign Holdings, Inc.
                                 520 Lake Cook Road, Suite 315
                                 Deerfield, Illinois 60015
                                 Attention:      Christopher Thunander

               with copy to:          White & Case LLP
                                      Gregory F. Pesce
                                      Laura E. Baccash
                                      111 South Wacker Drive, Suite 5100 Chicago, Illinois
                                      60606
                                      Telephone:    (312) 881-5400
                                      Email:        gregory.pesce@whitecase.com
                                                    laura.baccash@whitecase.com

                                      Charles R. Koster
                                      609 Main Street, Suite 2900
                                      Houston, Texas 77002
                                      Telephone:    (713) 496-9700
                                      Email:        charles.koster@whitecase.com

                                      Barrett B. Lingle
                                      1221 Avenue of the Americas, New York, New York
                                      10020
                                      Telephone:     (212) 819-8200
                                      Email:         barrett.lingle@whitecase.com

       To the Plan Administrator:     Steven Balasiano
                                      c/o MHR Advisory Group, LLC
                                      6701 Bay Parkway, 3rd Floor
                                      Brooklyn, NY 11204
                                      Telephone: (347) 905-5669
                                      Email: steven@mhradvisory.com

       To the Committee:              Pachulski Stang Ziehl & Jones LLP
                                      Bradford J. Sandler
                                      Robert J. Feinstein
                                      Colin R. Robinson
                                      Cia H. Mackle
                                      919 North Market Street, 17th Floor Wilmington, Delaware
                                      19801
                                      Telephone:     (302) 652-4100


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                                      Email:         bsandler@pszjlaw.com
                                                     rfeinstein@pszjlaw.com
                                                     crobinson@pszjlaw.com
                                                     cmackle@pszjlaw.com
16.    Miscellaneous.

                (a)   Sections 5, 7, and all other provisions necessary to the enforcement of the
intent of this Agreement will survive the termination or expiration of this Agreement.

             (b)     In the event of an inconsistency between this Agreement and the Plan
Documents, the terms of the Plan Documents shall control in all respects.

              (c)     If any portion of this Agreement shall be determined to be invalid or
unenforceable, the remainder of this Agreement shall be valid and enforceable to the maximum
extent provided by applicable law.

               (d)     Neither this Agreement nor any of the rights, interests, or obligations under
this Agreement shall be assigned by any of the Parties (whether by operation of law or otherwise)
without the prior written consent of the other Party.

                (e)    This Agreement is governed by and shall be construed in accordance with
the laws of the State of New York without regard to choice of law or principles thereof. In any
court proceeding arising out of or related to this Agreement, each of the Parties hereby waive any
right to trial by jury. Each of the Parties hereby submits to the exclusive jurisdiction of the
Bankruptcy Court for purposes of any proceeding arising from or related to this Agreement, and
each of the Parties agrees not to commence any action, suit, or proceedings relating thereto except
in the Bankruptcy Court.

                (f)  This Agreement and the Plan Documents encompass all of the terms and
conditions between the Debtors and the Plan Administrator concerning the subject matter hereof.
This Agreement may not be amended or modified in any respect except in a writing signed by each
of the Parties.

               (g)     This Agreement may be executed in counterparts, each of which shall be
deemed an original, but all of which together shall be deemed to be one and the same Agreement.
A signed copy of this Agreement delivered by facsimile, e-mail, or other means of electronic
transmission (.pdf) shall be deemed to have the same legal effect as delivery of an original signed
copy of this Agreement.


                               [SIGNATURE PAGES FOLLOW]




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                                       THE DEBTORS:

                                       Surgalign Spine Technologies, Inc., on
                                       behalf of itself and its affiliated Debtors


                                       By: _________________________________
                                       Name: Christopher Thunander




             Signature Page to Plan Administrator Agreement
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                                THE PLAN ADMINISTRATOR:

                                STEVEN BALASIANO


                                By: _______________________________________
                                Name: Steven Balasiano




             Signature Page to Plan Administrator Agreement
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                                       THE COMMITTEE:

                                       Pioneer Surgical Technology, Inc. d/b/a
                                       Resolve Surgical Technologies, on behalf of
                                       the Official Committee of Unsecured
                                       Creditors


                                       By: _________________________________
                                       Name: C Brad Aquino




             Signature Page to Plan Administrator Agreement
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                                          Exhibit A

     Terms of Compensation of Plan Administrator

1.    Compensation. In consideration for the services of the Plan Administrator under this

      Agreement, the Plan Administrator shall receive the following compensation from the

      Wind-Down Debtor Assets: (i) a monthly fee of $18,000, and (ii) reimbursement of

      reasonable and necessary expenses, including payment of all fees and expenses of the

      Plan Administrator’s attorneys incurred in drafting, reviewing, revising, negotiating, and

      executing this Agreement, the Plan, Confirmation Order, and any related documents.

2.    Payment of Monthly Fee; Full Fee for Initial Month. The Plan Administrator's monthly

      fee, together with payment of any expenses under the above paragraph, shall be payable

      out of Wind-Down Debtor Assets beginning on the Effective Date and continuing

      thereafter until the Plan Administrator is discharged. The first monthly fee shall be

      incurred immediately on approval of the appointment of the Plan Administrator even if

      the Plan Administrator is appointed before the Effective Date and incurred each month

      thereafter, although in such case the monthly fee(s) shall not become payable until the

      Effective Date but shall accrue each month and remain unpaid until that date occurs. The

      Plan Administrator shall be entitled to payment of its entire monthly fee, without

      prorating, for and beginning with the month in which the appointment of the Plan
      Administrator occurs.

3.    Means and Timing of Payment. The Plan Administrator's monthly fee shall be

      automatically paid in advance by wire transfer or equivalent electronic means in the Plan

      Administrator's discretion on the Effective Date and thereafter on the first business day

      of each month through and including the month in which the Plan Administrator is

      discharged.
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                              Exhibit A-1

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                             PLAN ADMINISTRATOR AGREEMENT

        This PLAN ADMINISTRATOR AGREEMENT (this “Agreement”), which shall
constitute the “Plan Administrator Agreement” under, as defined in, and for all purposes of the
Plan, unless and until it is replaced by an agreement with a successor “Plan Administrator”
appointed under the Plan pursuant to Section 9 hereof, dated as of [●]September 27, 2023, by
and among (a) Surgalign Spine Technologies, Inc., on behalf of itself and its debtor subsidiaries
(collectively, the “Debtors” or the “Wind-Down Debtors,” as applicable), (b) SteveSteven
Balasiano, who shall constitute (and is deemed designated) the “Plan Administrator” under, as
defined in, and for all purposes of the Plan, unless and until the Plan Administrator ceases to be
the “Plan Administrator” hereunder (the “Plan Administrator”), and (c) the Committee (together
with the Debtors and the Plan Administrator, the “Parties”), sets forth the Plan Administrator’s
rights, powers, and obligations in connection with the Plan pursuant to the Joint Chapter 11 Plan
of Surgalign Holdings, Inc. and Its Affiliated Debtors [Docket No. 431] (as may be amended,
modified, or supplemented from time to time, the “Plan”). Capitalized terms used but not
otherwise defined herein shall have the meanings ascribed to such terms in the Plan.

1.     Appointment. Effective as of the Effective Date, the Plan Administrator will be
appointed to act as the Plan Administrator under the Plan for the purpose of effectuating the
Plan, subject to the terms and conditions set forth in this Agreement, the Plan, and the
Confirmation Order, if applicable (collectively, the “Plan Documents”). As set forth in the Plan
Documents, the Plan Administrator shall succeed to such powers as would have been applicable
to the Debtors, the Debtors’ officers, directors, managers, members, shareholders, and the
Debtors’ Estates from and following the Effective Date. Notwithstanding the foregoing, the sole
and limited duties of the Plan Administrator are the responsibilities set out in Section 2.

2.      Scope of Services. The Plan Administrator shall provide post-Effective Date
administration, wind down, dissolution, and liquidation services that are necessary, required,
desirable, or advisable to effectuate the Plan Documents and to make certain distributions under
the Plan. Without limiting the provisions of the Plan applicable to the Plan Administrator, the
Plan Administrator will perform the following services for the Wind-Down Debtors’ Estates in
its role as Plan Administrator for all purposes of the Plan (as such services may be further
described in the Plan Documents or additional tasks required to be performed by the Plan
Administrator as described in the Plan Documents):

                (a)   implementing the orderly wind down of the Debtors’ Estates and making
distributions contemplated by the Plan

                (b)   marshalling, marketing for sale, and winding down any of the Debtors’
assets constituting Wind-Down Debtor Assets;

             (c)     overseeing the accounts of the Debtors and the Wind-Down Debtors and
the wind down and dissolution of the Debtors and the Wind-Down Debtors;



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               (d)    receiving, maintaining, conserving, supervising, prosecuting, collecting,
settling, managing, investing, protecting, and where appropriate, causing the Wind-Down
Debtors to abandon the Wind-Down Debtor Assets, including causing the Wind-Down Debtors
to invest any moneys held as Wind-Down Debtor Assets;

               (e)    opening and maintaining bank accounts on behalf of or in the name of the
Debtors or the Wind-Down Debtors, including, in the Plan Administrator’s discretion, separating
bank accounts for each of the Debtors;

              (f)    entering into any agreement or executing any document or instrument
required by or consistent with the Plan, the Confirmation Order, or the Plan Administrator
Agreement, and to perform all obligations thereunder;

              (g)   collecting and liquidating all Wind-Down Debtor Assets, including the
sale of any Wind-Down Debtor Assets;

               (h)     protecting and enforcing the rights to the Wind-Down Debtor Assets
(including any Retained Estate Claims and Causes of Action) vested in the Wind-Down Debtors
and Plan Administrator by the Plan Administrator Agreement by any method deemed
appropriate, including, without limitation, by judicial proceedings or otherwise;

              (i)    investigating any Wind-Down Debtor Assets, and any other potential
Retained Estate Claims and Causes of Action;

               (j)     reviewing, reconciling, compromising, settling, objecting, or prosecuting
Claims or Interests of any kind (other than Professional Fee Claims);

             (k)    seeking the examination of any Person pursuant to Federal Rule of
Bankruptcy Procedure 2004;

               (l)    retaining professionals, disbursing agents, and other agents, independent
contractors, and third parties pursuant to the Plan Administrator Agreement and paying the
reasonable compensation thereof;

               (m)   paying all lawful expenses, debts, charges, taxes, and other liabilities, and
making all other payments relating to the Wind-Down Debtor Assets, solely out of Wind-Down
Debtor Assets;

              (n)     prosecuting and settling the Retained Estate Claims and Causes of Action
and any causes of action not included in the Digital Assets Purchase Agreement or the Hardware
Assets Purchase Agreement or released under the Plan;

                (o)    reviewing,     reconciling,    pursuing,   commencing,     prosecuting,
compromising, settling, dismissing, releasing, waiving, withdrawing, abandoning, resolving, or
electing not to pursue all Retained Estate Claims and Causes of Action;

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              (p)     acquiring litigation and other claims related to the Debtors, and
prosecuting such claims;

              (q)     reviewing and compelling turnover of the Debtors’ or the Wind-Down
Debtors’ property;

              (r)     calculating and making all Distributions to the Holders of Allowed Claims
against each Debtor, as provided for in, or contemplated by, the Plan and the Plan Administrator
Agreement;

              (s)    establishing, administering, adjusting, and maintaining the Wind-Down
Reserve and the Disputed Claims Reserve;

               (t)    withholding from the amount distributable to any Person the maximum
amount needed to pay any tax or other charge that the Plan Administrator has determined, based
upon the advice of his agents or professionals, may be required to be withheld from such
Distribution under the income tax or other laws of the United States or of any state or political
subdivision thereof;

               (u)     in reliance upon the Debtors’ Schedules and the official Claims Register
maintained in the Chapter 11 Cases, and where appropriate, allowing or objecting to Claims, and
supervising and administering the commencement, prosecution, settlement, compromise,
withdrawal, or resolution of all objections to Disputed Claims required to be administered by the
Wind-Down Debtors;

                 (v)     making all tax withholdings, filing tax information returns, filing and
prosecuting tax refunds claims, making tax elections by and on behalf of the Debtors or the
Wind-Down Debtors, and filing tax returns for the Debtors or the Wind-Down Debtors pursuant
to and in accordance with the Plan, and paying taxes, if any, payable for and on behalf of the
Debtors or the Wind-Down Debtors, as applicable; provided, however, that notwithstanding any
other provision of the Plan Administrator Agreement, the Plan Administrator shall not have any
responsibility or personal liability in any capacity whatsoever for the signing or accuracy of
the Debtors’ income tax returns that are due to be filed after the Effective Date or for any tax
liability related thereto;

               (w)      abandoning or donating to a charitable organization qualifying under IRC
section 501(c)(3) any Wind-Down Debtor Assets that the Plan Administrator determines to be
too impractical to distribute or of inconsequential value;

             (x)      seeking a determination of tax liability or refund under section 505 of the
Bankruptcy Code;




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                (y)    establishing reserves for taxes, assessments, and other expenses of
administration of the Debtors or the Wind-Down Debtors as may be necessary and appropriate
for the proper operation of matters incident to the Debtors or the Wind-Down Debtors;

               (z)    paying Wind-Down Debtor Expenses;

             (aa) purchasing and carrying all insurance policies that the Plan Administrator
deems reasonably necessary or advisable and paying all associated insurance premiums and
costs;

               (bb) undertaking all administrative functions remaining in the Chapter 11
Cases to the extent necessary to carry out the Debtors’, the Wind-Down Debtors’, or the Plan
Administrator’s duties under the Plan, including reporting and making required payments of fees
to the U.S. Trustee and overseeing the closing of the Chapter 11 Cases;

               (cc)     retaining, terminating, appointing, hiring, or otherwise employees,
personnel, management, and directors at any of the Debtors to the extent necessary to carry out
the purposes of the Plan Administrator Agreement and the Plan, including, without limitation, to
address any disputes between the Debtors;

              (dd) exercising, implementing, enforcing, and discharging all of the terms,
conditions, powers, duties, and other provisions of the Plan, the Confirmation Order, and the
Plan Administrator Agreement;

               (ee) scheduling a virtual meeting with members of the Committee who existed
immediately prior to the Effective Date (“Final Committee Members”) no later than 45 days after
the Effective Date to provide a general update, and then at least once quarterly thereafter, which
meeting shall be “by invitation” only to such Final Committee Members at a time during normal
business hours (i.e., between 9:00 a.m., prevailing Eastern Time, and 5:00 p.m., prevailing
Eastern Time), during which meeting the Plan Administrator shall provide a general update to
the attendees of such meeting; and

               (ff)    taking all other actions consistent with the provisions of the Plan and the
Plan Administrator Agreement that the Plan Administrator deems reasonably necessary or
desirable to administer the Debtors and the Wind-Down Debtors.

3.     Timing and Fees.

               (a)    The Plan Administrator will commence its responsibilities on the
Effective Date.

               (b)    The Wind-Down Debtors shall pay the Plan Administrator’s compensation
and reimburse the Plan Administrator’s expenses as set forth herein as such amounts come due
without the need for Bankruptcy Court approval.


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                (c)     The Plan Administrator’s annual compensation shall be as follows: $[●]
per monthset forth on Exhibit A attached hereto until the termination of this Agreement, which
shall be payable from the Wind-Down Debtor Assets on a monthly basis in advance no later than
the first business day of each month..

               (d)     In addition to the foregoing, the Plan Administrator shall be entitled to
reimbursement of actual, reasonable, out-of-pocket and direct expenses incurred in connection
with the services to be provided under this Agreement and/or the Plan Documents, as applicable.

                (e)     The Plan Administrator may retain any professionals reasonably necessary
to the Plan Administrator, and any professionals retained by the Plan Administrator pursuant to
the terms of this Agreement shall be paid as set forth in the applicable professional’s engagement
letter, which shall be payable from the Wind-Down Debtor Assets in accordance with the terms
of this Agreement.

4.      Relationship of the Parties. The Parties intend that an independent contractor
relationship shall be created by this Agreement. The Plan Administrator shall not be entitled to
receive from the Debtors or Wind-Down Debtors or their Estates any vacation pay, sick leave,
retirement, pension, or social security benefits, workers’ compensation, disability,
unemployment insurance benefits, or any other employee benefits.

5.       D&O Liability Insurance. The Wind-Down Debtors shall purchase director and officer
liability insurance that will cover the Plan Administrator with respect to carrying out the Plan
Administrator’s duties in an amount and on terms reasonably acceptable to the Plan
Administrator.

6.      Confidentiality. The Plan Administrator shall treat confidentially all information not
publicly available that is received by the Plan Administrator in connection with this engagement
or that is developed during this engagement, and the Plan Administrator shall not disclose such
information except as required by a court order or other legal process.

7.      Indemnity. As set forth and limited by Article VIII.B.10 of the Plan, the Wind-Down
Debtors shall indemnify and defend the Plan Administrator and all professionals engaged by the
Plan Administrator from and against any and all claims, liability, loss, costs, damage, or expense
(including reasonable attorneys’ fees) (collectively, “Damages”) asserted against it by reason of
or arising out of or related to this Agreement or performance under this Agreement or any related
transactions that are taken or omitted to be taken as set forth in this Agreement; provided that
there shall be no obligation to indemnify or defend the Plan Administrator or its professionals on
account of Damages that are determined to have arisen primarily from the Plan Administrator’s
or such professional’s gross negligence or willful misconduct.

8.    Exculpation. The Plan Administrator and any professional engaged by the Plan
Administrator shall not be liable for any act or omission in connection with the discharge by the
Plan Administrator or such professional of the powers and duties conferred upon the Plan
Administrator by the Plan, this Agreement, any Final Order, or applicable law, except to the
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extent that such liability is due to an act or omission that is determined, in a Final Order, to be
due to the Plan Administrator’s or such professional’s gross negligence or willful misconduct.
Nothing contained in this Section 8 shall preclude or impair any Holder of an Allowed Claim
from bringing an action in the Bankruptcy Court against the Plan Administrator to compel the
Plan Administrator to make the distributions contemplated by the Plan on account of such
Allowed Claim.

9.     Termination; Effect of Termination.

              (a)   This Agreement shall terminate automatically after all of the Chapter 11
Cases have been closed and all payments have been made under the Plan (including the Plan
Administrator’s compensation and reimbursement).

                (b)     The Plan Administrator may resign its duties at any time upon thirty (30)
days’ written notice to the Bankruptcy Court and the Notice Parties provided in Section 15 of
this Agreement, provided that such resignation shall only become effective upon the appointment
of a permanent or interim successor Plan Administrator, who shall be selected by the Plan
Administrator. Upon the appointment of a successor Plan Administrator, such successor shall
become fully vested with all of the rights, powers, duties, and obligations of the predecessor Plan
Administrator pursuant to this Agreement, the Plan, and the Confirmation Order, and all
responsibilities of the predecessor Plan Administrator shall be terminated.

               (c)    This Agreement may be terminated for cause shown pursuant to a Final
Order entered by the Bankruptcy Court after notice and a hearing; provided that in the event that
this Agreement is terminated before its automatic termination as provided in Section 8(a), the
Bankruptcy Court shall appoint a successor Plan Administrator to fill the vacancy left by the
termination of this Agreement.

               (d)     Upon termination of this Agreement or resignation of the Plan
Administrator, the Plan Administrator shall be entitled to all fees and expenses accrued to that
date pursuant to this Agreement, including any travel or related expenses incurred in returning
from the location of the services being provided under this Agreement prior to the termination
date or resignation date.




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10.    Privileges with Respect Retained Estate Claims and Causes of Action.

                (a)    All attorney-client privileges, work product protections and other
privileges, immunities or protections from disclosure (the “Privileges”) held by any one or more
of the Debtors (including any pre-petition committee or subcommittee of the board of directors
or equivalent governing body of any of the Debtors and their predecessors), or the Committee, as
applicable (together, the “Privilege Transfer Parties”) related in any way to the Retained Estate
Claims and Causes of Action and the purpose of the Agreement (the “Transferred Privileged
Information”) are hereby transferred and assigned to the Plan Administrator. The Transferred
Privileged Information shall include documents and information of all manner, whether oral,
written, or digital. For the avoidance of doubt, the Privileges shall include any right to preserve
or enforce a privilege that arises from any joint defense, common interest, or similar agreement
involving any of the Privilege Transfer Parties.

              The foregoing transfer and assignment shall vest the Privileges concerning the
Transferred Privileged Information exclusively in the Plan Administrator, consistent with
sections 1123(a)(5)(B) and 1123(b)(3)(B) of the Bankruptcy Code, for the sole benefit of the
Plan Administrator and Holders of Claims. The Plan Administrator shall have the exclusive
authority and sole discretion to maintain the Privileges and keep the Transferred Privileged
Information confidential, or waive any Privileges and/or disclose and/or use in litigation or any
proceeding any or all of the Transferred Privileged Information.

                (b)    The Privilege Transfer Parties agree to take all necessary actions to
effectuate the transfer of such Privileges, and to provide to the Plan Administrator without the
necessity of a subpoena all Transferred Privileged Information in their respective possession,
custody, or control; provided that the Plan Administrator shall agree that any reasonable and
documented costs and expenses (including attorneys’ fees) for any person or entity that takes
action pursuant to this provision shall be reimbursed from the Wind-Down Debtor Assets. The
Plan Administrator is further expressly authorized to formally or informally request or subpoena
documents, testimony or other information that would constitute Transferred Privileged
Information from any persons, including attorneys, professionals, consultants and experts that
may possess Transferred Privileged Information, and no such person may object to the
production to the Plan Administrator of such Transferred Privileged Information on the basis of a
Privilege held by a Privilege Transfer Party. Until and unless the Plan Administrator makes a
determination in its sole discretion to waive any Privilege, Transferred Privileged Information
shall be produced solely to the Plan Administrator or as required by law. For the avoidance of
doubt, this Subsection is subject in all respects to Section 10(a) of this Agreement.

               Pursuant to, inter alia, Federal Rule of Evidence 502(d), no Privileges shall be
waived by the transfer and assignment of the Privileges or the production of any Transferred
Privileged Information to the Plan Administrator or any of its respective employees,
professionals or representatives, or by disclosure of such Transferred Privileged Information
between the Privilege Transfer Parties, on the one hand, and the Plan Administrator, on the other
hand, or any of their respective employees, professionals or representatives.

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               (c)    If a Privilege Transfer Party, the Plan Administrator, any of their
respective employees, professionals or representatives or any other person inadvertently
produces or discloses Transferred Privileged Information to any third party, such production
shall not be deemed to destroy any of the Privileges, or be deemed a waiver of any
confidentiality protections afforded to such Transferred Privileged Information. In such
circumstances, the disclosing party shall promptly upon discovery of the production notify the
Plan Administrator of the production and shall demand of all recipients of the inadvertently
disclosed Transferred Privileged Information that they return or confirm the destruction of such
materials.

               Notwithstanding anything to the contrary contained in Section 10, for the
avoidance of doubt, no Privilege or Transferred Privileged Information related to any Claims or
Causes of Action that have been released or exculpated under the Plan shall be deemed to have
been transferred or assigned to the Plan Administrator, provided, however, that the foregoing
shall not prevent the transfer of any Privilege or Transferred Privileged Information to the extent
that such Privilege or Transferred Privileged Information also relates to Retained Estate Claims
and Causes of Action.

11.    Authority to Prosecute and Settle Retained Estate Claims and Causes of Action.

                (a)     Subject to the provisions of this Agreement, the Plan, and the
Confirmation Order, the Plan Administrator shall prosecute, pursue, compromise, settle, or
abandon any and all Retained Estate Claims and Causes of Action that have not already been
resolved as of the Effective Date. The Plan Administrator shall have the absolute right to pursue,
not pursue, release, abandon, and/or settle any and all Retained Estate Claims and Causes of
Action (including any counterclaims asserted against the Plan Administrator) as it determines in
the best interests of the Holders of an Allowed Claims, and consistent with the purposes of the
Agreement, and shall have no liability for the outcome of its decision.

                 To the extent that any action has been taken to prosecute or otherwise resolve any
Retained Estate Claims and Causes of Action prior to the Effective Date by the Debtors, on the
Effective Date, the Plan Administrator shall be substituted for the Debtors in connection
therewith in accordance with Rule 25 of the Federal Rules of Civil Procedure, made applicable
to the Plan Administrator by Bankruptcy Rule 7025, and the caption with respect to such pending
litigation shall be changed to the following, at the option of the Plan Administrator: “[Name of
Plan Administrator], as Representative for the Wind-Down Debtors v. [Defendant]” or
“Wind-Down Debtors v. [Defendant].” Without limiting the foregoing, the Plan Administrator
shall take any and all actions necessary or prudent to intervene as plaintiff, movant or additional
party, as appropriate, with respect to any applicable Claim. For purposes of exercising its
powers, the Plan Administrator shall be deemed to be a representative of the Estates pursuant to
section 1123(b)(3)(B) of the Bankruptcy Code.

              (b)     Subject to Section 11(a) hereof, any determinations by the Plan
Administrator, with regard to the amount or timing of settlement or other disposition of any
Retained Estate Claims and Causes of Action settled in accordance with the terms of this
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Agreement shall be conclusive and binding on the Holders of an Allowed Claims and all other
parties in interest following the entry of an order of a court of competent jurisdiction (including,
as relevant, a Final Order issued by the Bankruptcy Court) approving such settlement or other
disposition, to the extent any such order is required to be obtained to enforce any such
determinations.




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12.     Liquidation of Retained Estate Claims and Causes of Action. The Plan Administrator, in
the exercise of its reasonable business judgment, shall, in an expeditious but orderly manner and
subject to the other provisions of the Plan, the Confirmation Order, and this Agreement liquidate
and convert to Cash the Retained Estate Claims and Causes of Action, make timely distributions
in accordance with the terms of the Plan, the Confirmation Order, and this Agreement, and not
unduly prolong the existence of the Agreement. The Plan Administrator shall exercise
reasonable business judgment and liquidate the Retained Estate Claims and Causes of Action to
maximize net recoveries to the Holders of an Allowed Claims, provided, however, that the Plan
Administrator shall be entitled to take into consideration the risks, timing, and costs of potential
actions in making determinations as to the methodologies to be employed to maximize such
recoveries. Such liquidations may be accomplished through the prosecution, compromise and
settlement, abandonment or dismissal of any or all of the Retained Estate Claims and Causes of
Action or otherwise or through the sale or other disposition of the Retained Estate Claims and
Causes of Action (in whole or in combination).

13.      Books and Records. The Plan Administrator shall maintain books and records relating to,
among other things, the Retained Estate Claims and Causes of Action (including income realized
therefrom and the proceeds of any litigation) and the payment of, costs and expenses of, and
liabilities for claims against or which, pursuant to the Plan, are the responsibility of the Plan
Administrator in such detail and for such period of time as may be necessary to enable the Plan
Administrator to make full and proper accounting in respect thereof and in accordance with
applicable law. Such books and records shall be maintained as reasonably necessary to facilitate
compliance with the tax reporting requirements of the Wind-Down Debtors. Nothing in this
Agreement requires the Plan Administrator to file any accounting or seek approval of any court
with respect to the administration of the Wind-Down Debtors’ Assets or as a condition for
managing any payment or distribution out of the Retained Estate Claims and Causes of Action,
except as may otherwise be set forth in the Plan or the Confirmation Order.

14.    Effectiveness. This Agreement shall be effective upon the Effective Date.

15.     Notice. All invoices, notices, requests, demands, and other communications permitted or
required to be given or delivered under or by reason of the provisions of this Agreement shall be
in writing and shall be deemed conclusively to have been given: (a) when personally delivered;
(b) when sent by electronic mail (with hard copy to follow) during a Business Day (or on the
next Business Day if sent after the close of normal business hours or on any non-Business Day);
(c) one (1) Business Day after being sent by reputable overnight express courier (charges
prepaid); or (d) three (3) Business Days following mailing by certified or registered mail, postage
prepaid and return receipt requested. Unless another address is specified in writing, notices,
requests, demands, and communications to the Parties hereto shall be sent to the addresses
indicated below:

       To the Wind-Down Debtors: Surgalign Holdings, Inc.
                                 520 Lake Cook Road, Suite 315
                                 Deerfield, Illinois 60015
                                 Attention:      Christopher Thunander
                                           10
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       with copy to:         White & Case LLP
                             Gregory F. Pesce
                             Laura E. Baccash
                             111 South Wacker Drive, Suite 5100 Chicago, Illinois
                             60606
                             Telephone: (312) 881-5400
                             Email:        gregory.pesce@whitecase.com
                             laura.baccash@whitecase.com

                             Charles R. Koster
                             609 Main Street, Suite 2900
                             Houston, Texas 77002
                             Telephone: (713) 496-9700
                             Email:        charles.koster@whitecase.com

                             Barrett B. Lingle
                             1221 Avenue of the Americas, New York, New York
                             10020
                             Telephone: (212) 819-8200
                             Email:         barrett.lingle@whitecase.com

To the Plan Administrator:   SteveSteven Balasiano
                             c/o MHR Advisory Group, LLC
                             6701 Bay Parkway, 3rd Floor
                             [●]Brooklyn, NY 11204
                             Telephone: (347) 905-5669
                             Email: steven@mhradvisory.com

To the Committee:            Pachulski Stang Ziehl & Jones LLP
                             Bradford J. Sandler
                             Robert J. Feinstein
                             Colin R. Robinson
                             Cia H. Mackle
                             919 North Market Street, 17th Floor Wilmington, Delaware
                             19801
                             Telephone: (302) 652-4100
                             Email:         bsandler@pszjlaw.com
                             rfeinstein@pszjlaw.com
                             crobinson@pszjlaw.com
                             cmackle@pszjlaw.com




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16.    Miscellaneous.

                (a)   Sections 5, 6, and all other provisions necessary to the enforcement of the
intent of this Agreement will survive the termination or expiration of this Agreement.

             (b)     In the event of an inconsistency between this Agreement and the Plan
Documents, the terms of the Plan Documents shall control in all respects.

              (c)     If any portion of this Agreement shall be determined to be invalid or
unenforceable, the remainder of this Agreement shall be valid and enforceable to the maximum
extent provided by applicable law.

               (d)    Neither this Agreement nor any of the rights, interests, or obligations
under this Agreement shall be assigned by any of the Parties (whether by operation of law or
otherwise) without the prior written consent of the other Party.

                (e)    This Agreement is governed by and shall be construed in accordance with
the laws of the State of New York without regard to choice of law or principles thereof. In any
court proceeding arising out of or related to this Agreement, each of the Parties hereby waive any
right to trial by jury. Each of the Parties hereby submits to the exclusive jurisdiction of the
Bankruptcy Court for purposes of any proceeding arising from or related to this Agreement, and
each of the Parties agrees not to commence any action, suit, or proceedings relating thereto
except in the Bankruptcy Court.

               (f)    This Agreement and the Plan Documents encompass all of the terms and
conditions between the Debtors and the Plan Administrator concerning the subject matter hereof.
This Agreement may not be amended or modified in any respect except in a writing signed by
each of the Parties.

               (g)    This Agreement may be executed in counterparts, each of which shall be
deemed an original, but all of which together shall be deemed to be one and the same
Agreement. A signed copy of this Agreement delivered by facsimile, e-mail, or other means of
electronic transmission (.pdf) shall be deemed to have the same legal effect as delivery of an
original signed copy of this Agreement.


                               [SIGNATURE PAGES FOLLOW]




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                                       THE DEBTORS:

                                       Surgalign Spine Technologies, Inc., on
                                       behalf of itself and its affiliated Debtors


                                       By:
                                       Name: [●]Christopher Thunander
                                       Title: [●]




             Signature Page to Plan Administrator Agreement
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                                THE PLAN ADMINISTRATOR:

                                [●]STEVEN BALASIANO


                                By:
                                Name: SteveSteven Balasiano




             Signature Page to Plan Administrator Agreement
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                                       THE COMMITTEE:

                                       [●]Pioneer Surgical Technology, Inc. d/b/a
                                       Resolve Surgical Technologies, on behalf of
                                       the Official Committee of Unsecured
                                       Creditors


                                       By:
                                       Name: [●]C Brad Aquino
                                       Title: [●]




             Signature Page to Plan Administrator Agreement
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                                           Exhibit A



     Terms of Compensation of Plan Administrator


1.   Compensation. In consideration for the services of the Plan Administrator under this

     Agreement, the Plan Administrator shall receive the following compensation from the

     Wind-Down Debtor Assets: (i) a monthly fee of $18,000, and (ii) reimbursement of

     reasonable and necessary expenses, including payment of all fees and expenses of the

     Plan Administrator’s attorneys incurred in drafting, reviewing, revising, negotiating, and

     executing this Agreement, the Plan, Confirmation Order, and any related documents.

2.   Payment of Monthlv Fee; Full Fee for Initial Month. The Plan Administrator's monthly

     fee, together with payment of any expenses under the above paragraph, shall be payable

     out of Wind-Down Debtor Assets beginning on the Effective Date and continuing

     thereafter until the Plan Administrator is discharged. The first monthly fee shall be

     incurred immediately on approval of the appointment of the Plan Administrator even if

     the Plan Administrator is appointed before the Effective Date and incurred each month

     thereafter, although in such case the monthly fee(s) shall not become payable until the

     Effective Date but shall accrue each month and remain unpaid until that date occurs. The

     Plan Administrator shall be entitled to payment of its entire monthly fee, without
     prorating, for and beginning with the month in which the appointment of the Plan

     Administrator occurs.

3.   Means and Timing of Payment.           The Plan Administrator’s monthly fee shall be

     automatically paid in advance by wire transfer or equivalent electronic means in the Plan

     Administrator's discretion on the Effective Date and thereafter on the first business day of

     each month through and including the month in which the Plan Administrator is

     discharged.
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                              Summary report:
     Litera Compare for Word 11.4.0.111 Document comparison done on
                           9/26/2023 10:38:39 PM
 Style name: 2_WC_StandardSet
 Intelligent Table Comparison: Active
 Original filename: SRGA Plan Administrator Agreement.DOCX
 Modified filename: Revised.DOCX
 Changes:
 Add                                                     28
 Delete                                                  14
 Move From                                               2
 Move To                                                 2
 Table Insert                                            0
 Table Delete                                            0
 Table moves to                                          0
 Table moves from                                        0
 Embedded Graphics (Visio, ChemDraw, Images etc.)        0
 Embedded Excel                                          0
 Format changes                                          0
 Total Changes:                                          46
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                            Exhibit C

                        Wind-Down Budget
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Surgalign Inc.
Domestic Wind Down Budget
(in thousands)
                                                          Wind Down
                                                           Budget         Comments
 Opening Cash Balance                                 $         5,706
 Remaining Operational Cash Flow
   Estimated AR Receipts                                        2,200 Estimated remaining recoverable receipts
   Return of Utility Deposit                                        2 Return of Utility deposit
   Tax Refund                                                   4,250 Midpoint recovery estimate for the Coflex Sale Tax Refund
  Remaining Cash Receipts                             $         6,452

 Accruals and Unpaid Payroll Costs
    Accrued & Unpaid Payroll                                     (277) Accrued payroll and benefits due to employees at emergence
    Accrued & Unpaid Severance                                   (154) Accrued severance owed to employees at emergence
  Accruals and Unpaid Payroll Costs                   $          (431)

 Wind Down Costs
   Liquidating Trust Professional Fees                            (250) Estimate based on 3‐6 month wind‐down
   Contract Cure Costs                                            (198) Contract assumption Cure estimate
   Employee / Consultants Costs to Wind Down Estate               (275) Estimate based on 3‐6 month wind‐down
   Tax Costs to Wind Down Estate                                  (900) Includes filing of 2022 and 2023 returns
   Other Fees                                                      (55) Fees related to maintaining systems (payroll, benefits, technology, etc.)
  Wind Down Costs                                     $         (1,678)

 Estimated Chapter 11 Professional Fee Reserve
     White & Case                                               (2,843) Includes estimated unpaid fees for August / September and holdback for June / July less retainer offset
     Alvarez & Marsal                                             (454) Includes estimated unpaid fees for August / September and holdback for June / July less retainer offset
     Jackson Walker                                               (450) Includes all estimated post petition fees less retainer offset
     Pachulski                                                    (950) Includes estimated unpaid fees for August / September and holdback for June / July less retainer offset
     Province                                                     (855) Includes estimated unpaid fees for August / September and holdback for June / July less retainer offset
     UST Fees                                                     (160) Includes estimated unpaid fees for Q3
  Estimated Chapter 11 Professional Fee Reserve       $         (5,712)

 Total Estimated Wind Down Cash Flow                  $         (1,368)
 Ending Cash for Distributions                        $         4,337
